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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH CAROLINA

COLUMBIA DIVISION

Richard G. Beck, Beverly Watson, ) Civil Action No.: 3:13-CV-999-TLW
Cheryl Gajadhar, Jeffery Willhite, )
and Lakreshia R. Jeffery, on behalf of) AMENDED COMPLAINT
themselves and all others similarly situated, ) (Jury Trial Demanded)

) (Class Action)

Plaintiffs, )

)
v. )

)
Eric K. Shinseki, in his official capacity as)
Secretary of Veterans Affairs, )

)

Rebecca Wiley, in her official capacity as)
the former Medical Director of William)
Jennings Bryan Dorn VA Medical Center, )
)

Barbara Temeck, M.D., in her official)
capacity as the Chief of Staff of William)
Jennings Bryan Dorn VA Medical Center, )
Ruth Mustard, RN, in her official capacity)
as the Director for Patient Care/Nursing)
Services of William Jennings Bryan Dorn)
VA Medical Center, )
)

David L. Omura, in his official capacity as)
the Associate Director of William Jennings)
Bryan Dorn VA Medical Center, and )
)

Jon Zivony, in his official capacity as the)
Assistant Director of William Jennings)
Bryan Dorn VA Medical Center, )

)
Defendants. }
)

COME NOW PLAINTIFFS, Richard G. Beck, Beverly Watson, Cheryl Gajadhar, Jeffery
Willhite, and Lakreshia R. Jeffery, on behalf of themselves and all others similarly situated, who

respectfully show unto the Court as follows:
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NATURE OF THE ACTION

1. This is an action for declaratory and injunctive relief and money damages for
Defendants’ violations of federal law, including but not limited to, the Administrative Procedure
Act (“APA”), the Privacy Act (‘Privacy Act”), and the Health Insurance Portability and
Accountability Act (“HIPAA”), each as amended. Plaintiffs seek to represent approximately
7,500 individuals who have suffered emotional trauma, monetary damages, and been placed in
fear of identity theft, destruction of credit, and health insurance fraud because of Defendants’
willful and intentional actions and reckless disregard for the safeguarding of these citizens’
personal identifying and medical information (the “Class”).

2. On or about February 11, 2013, Defendants suffered the loss or theft of a laptop
computer containing the private personal and medical information (“Personal Information”) of
approximately 7,500 veterans who had received or were receiving medical treatment in
Defendants’ facilities in this state, specifically including the William Jennings Bryan Dorn VA
Medical Center (“Dorn VAMC”).

3. The Personal Information on the lost or stolen laptop computer was not encrypted
or otherwise safeguarded by Defendants as required by law, policy, minimum accepted industry
standards, and repeated public representations by the Department of Veterans Affairs (“VA” or
“Department”).

4, Defendants failed to properly perform the duties and responsibilities of their
respective VA positions by failing to require compliance with applicable federal statutes,
regulations, policies, and procedures regarding Privacy Act and HIPAA records and failed to

ensure that Plaintiffs’ Personal Information was protected from the intentional, willful, reckless,
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arbitrary, and capricious actions and inactions of other Defendants and their agents, servants, and
employees.

5. Defendants flagrantly disregarded the privacy interests of affected veterans,
including Plaintiffs, by illegally, intentionally, and willfully ignoring, and knowingly allowing its
employees, contractors, servants, and other Department officials to ignore, the requirements of
federal statutes and regulations, applicable Department policies and procedures for properly
creating, maintaining, accessing, disclosing, and using Personal Information under their control.

6. Defendants’ intentional, willful, and reckless disregard for Plaintiffs’ privacy
interests are most obvious in their failing to make even the most rudimentary effort to safeguard
Plaintiffs’ Personal Information from unauthorized disclosure and theft despite nearly seven
years to implement the lessons from a notorious 2006 event involving the loss of the Personal
Information of more than 26 million veterans and several subsequent similar events. Thus, when
it went missing, Plaintiffs’ Personal Information was unencrypted, easily copied, physically
accessible, and available to anyone obtaining physical control of the laptop. Defendants’ failure
to implement competent safeguards, or to base any safeguards on a reasonable and up-to-date
security threat analysis, allowed Plaintiffs’ Personal Information to literally walk out the door.

7. Defendants’ intentional, willful, and reckless actions and inactions have inflicted,
and will long continue to inflict, real costs and emotional pain and suffering on Plaintiffs.

JURISDICTION AND VENUE

8. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 because this is a
civil action arising under the laws of the United States. Jurisdiction is also invoked pursuant to
5 U.S.C. §§ 552a(¢)(1), (5) because this is a civil action to enforce a liability created under

5 U.S.C. § 552a after September 27, 1975.
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9. Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this district.
PARTIES

10. Plaintiff Richard Beck is a citizen and resident of Richland County, South
Carolina, and is an honorably discharged veteran who has received pulmonary and
cardiovascular treatment and other health care at Dorn VAMC.

11. Plaintiff Beverly Watson is a citizen and resident of Richland County, South
Carolina, and is an honorably discharged veteran who has received medical treatment and other
health care at Dorn VAMC,

12. ‘Plaintiff Cheryl Gajadhar is a citizen and resident of Richland County, South
Carolina, and is an honorably discharged veteran who has received pulmonary and
cardiovascular treatment and other health care at Dorn VAMC,

13, Plaintiff Jeffery Willhite is a citizen and resident of Lexington County, South
Carolina, and is an honorably discharged veteran who has received medical treatment and other
health care at Dorn VAMC.

14. Plaintiff Lakreshia R. Jeffery is a citizen and resident of Richland County, South
Carolina, and is an honorably discharged veteran who received pulmonary and cardiovascular
treatment and other health care at Dorn VAMC.

15. Defendant Eric K. Shinseki is the Secretary of Veterans Affairs and, among other
duties, was the official responsible for the proper execution and administration of all laws

administered by the Department of Veterans Affairs at all times complained of herein.
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16. Defendant Rebecca Wiley was the Dorn VAMC Medical Director and, among
other duties, was an official responsible for the proper execution and administration of the laws
relevant to operation of the facility at all times complained of herein.

17. Defendant Barbara Temek, M.D., was the Dorn VAMC Chief of Staff and, among
other duties, was an official responsible for the proper execution and administration of the laws
relevant to operation of the facility at ali times complained of herein.

18. Defendant Ruth Mustard, RN, was the Dorn VAMC Director for Patient
Care/Nursing Services and, among other things, was responsible for the proper execution and
administration of the laws relevant to operation of the facility at all times complained of herein.

19, Defendant David L. Omura was the Dorn VAMC Associate Director and, among
other duties, was an official responsible for the proper execution and administration of the laws
relevant to operation of the facility at all times complained of herein.

20. Defendant Jon Zivony was the Dorn VAMC Assistant Director and, among other
duties, was an official responsible for the proper execution and administration of the laws
relevant to operation of the facility at all tumes complained of herein.

21. All Defendants are sued in their official capacities.

22. The parties to this action and the acts and omissions complained of herein are

subject to the jurisdiction of this court.

STATEMENT OF THE FACTS
23. On or about February 11, 2013, a laptop computer was reported missing from a
testing laboratory in the Dorn VAMC Respiratory Therapy Department. The laptop computer
and hard drive admittedly contained Personal Information, including information subject to

Privacy Act and HIPPA requirements, pertaining to approximately 7,500 United States military
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veterans. The missing laptop and its embedded Personal Information contained individual
identifying information including, but not limited to, names, addresses, phone numbers, social
security numbers, and dates of birth. In addition, an unknown number of records contained
veterans’ confidential medical and disability information.

24. Upon information and belief, the laptop computer was not stored in a security
container and none of the Personal Information was encrypted or similarly protected.

25. To date, the subject laptop computer has not been returned to Defendants and it,
and the Personal Information contained in it, remains unaccounted for.

26. Upon information and belief, Plaintiffs’ Personal Information was improperly
gathered and placed on the missing laptop computer by an employee(s), agent(s), contractor(s),
or other servant(s) of the Department and the Personal Information was retrieved or retrievable
by the name of each individual or by some identifying number, symbol, or other identifying

particular assigned to an individual.

APA VIOLATIONS

27. As of at least February 11, 2013, Defendants were required, at a minimum, to
comply with the “Privacy Act Guidelines ~ July 1, 1975” published in the Federal Register on
July 9, 1975, unless the requirements therein were subsequently modified or eliminated. In
addition, Defendants were required to comply with numerous federal statutes, regulations,
technical standards, as well as Department policies, procedures, and rules promulgated since the
Department’s 2006 loss of a laptop containing the personal information of 26 million veterans.

28. Well before February 11, 2013, Department regulations, e.g., 38 C.F.R. § 1.576,
and numerous Department policies, directives, and procedures required Defendants to safeguard

an individual against an invasion of privacy, to collect, maintain, use, or disseminate records of
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personally identifiable information in a manner that assured that such action was for a necessary
and lawful purpose, and to ensure that adequate safeguards are provided to prevent misuse of
such information.

29. Well before February 11, 2013, other federal rules, regulations, procedures and
guidance documents established minimum standards for Defendants’ actions in gathering,
maintaining, disclosing, using, and safeguarding personal and medical information. Examples of
this guidance include Office of Management and Budget guidelines, Federal Information
Processing Standards, and National Institute of Standards and Technology (“NIST”) standards.

30. Defendants failed to comply, and failed to ensure compliance, with the applicable
laws and standards or to have adequate and appropriate Dorn VAMC policies and procedures in
place to prevent the compromise of Plaintiffs’ Personal Information.

31. Defendants’ failures are especially egregious in light of previously acknowledged
safeguard failures, including a security breach at another VA medical facility in 2007 under
essentially indistinguishable circumstances, and widely disseminated reports of the lack of
adequate Department information security safeguards.

UNAUTHORIZED DISCLOSURE

32. The Privacy Act requires that personal information maintained by government
agencies, including VA, only be disclosed (1) upon written authorization of the individual to
whom the information pertains or (2) to persons who have been authorized to access the
information pursuant to applicable regulations and procedures and then only for specified
“routine” uses.

33. Plaintiffs did not give Defendants written permission for their Privacy Act

Records and other Personal Information to be placed on the stolen laptop.
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34. This use of Plaintiffs’ Personal Information was not authorized pursuant to law or
Defendants’ administrative processes, in that there was no submission of a request for access and
a formal authorization granting access had not been executed.

35. Defendants’ failure to physically safeguard Plaintiffs’ Personal Information is
further evidenced in that the individual or individuals that took and retain physical control of the
missing laptop containing Plaintiffs’ Personal Information was not challenged by Defendants, or
any other VA employees, regarding his or her authority to possess, access, or use the subject

laptop computer and remain unknown and at large.

FAILURE TO SAFEGUARD

36. Minimum requirements and standards for federal information security have long
been available to federal agencies and officials, and the Department and Defendants are, or
should be, well aware of their responsibilities and duties under those requirements. Further, the
Department has made almost innumerable commitments to veterans, Congress, and the
American people that it would properly safeguard personal information since 2006 when it lost
control of the Personal Information of an estimated 26 million veterans and their families.
Among those commitments was that Department laptop computers containing Personal
Information would be encrypted to prevent unauthorized access should the device be lost or
stolen.

37. Defendants have not met their commitments and have again failed to protect
veterans’ Personal Information, including Plaintiffs’ Personal Information. Defendants’ failures
are all the more egregious in this case because they were aware of ongoing gaps in security

identified by other security breaches, including a 2007 loss of a japtop improperly containing
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personal information from a Birmingham VA medical facility under essentially the same
circumstances as in this case.

38. Well before February 11, 2013, Defendants were, or should have been, aware of
inherent and obvious risks associated with placing Plaintiffs’ Personal Information on an
unsecured and unencrypted laptop and that such a practice could result in potential disclosure of
Personal Information through loss or theft. Indeed, the loss or theft of a VA laptop computer is
an all too frequent occurrence, and Defendants have long been on notice of the risks of such an
event, yet still failed to ensure that proper safeguards were in place to prevent such an occurrence
at Dorn VAMC.

39, In addition, Defendants have been grossly negligent, if not willfully blind, in
failing to encrypt devices containing personal information. VA’s own Office of Inspector
General reported only a few months before the February 13, 2013, incident that, aithough VA
spent $3,700,000.00 in 2006 to purchase encryption software, the Department had installed that
software on only 16% of the devices for which it was purchased. In other words, nearly seven
years after committing to encrypt personal information on Department computers, at least
335,000 devices remained unprotected, apparently including the laptop missing from Dorn
VAMC. Further, the VA OIG stated unequivocally that the cause of this incredibly poor
performance was VA’s “inadequate planning and management.”

40. It is also clear that Defendants failed to implement an adequate physical security
program at Dorn VAMC and have not implemented any means to identify unauthorized
personnel in areas containing laptop computers or to prevent the removal of the stolen equipment

from Dorn VAMC workplaces.
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FAILURE TO PUBLISH NOTICE

41. The Privacy Act and implementing regulations require Defendants to publish in
the Federal Register notice of the creation of any new system of records and the purpose for such
system.

42. Contrary to these requirements, Defendants did not issue any such notice
regarding the system of records maintained on the missing laptop and it was not reasonably
possible for any individual whose Personal Information was included in the system of records
created on the laptop to determine that their individually identifying information was contained
in that system of records or otherwise maintained by Dorn VAMC outside of a properly noticed

system of records.

INTENTIONAL AND WILLFUL VIOLATIONS

43, One or more of Defendants’ employees, agents, contractors, or servants
intentionally and willfully transferred Plaintiffs’ Personal Information to the missing laptop and
stored the information in violation of the applicable legal and administrative requirements and
without appropriate safeguards.

44. Numerous federal laws require that Defendants implement safeguards for
information systems that support VA operations which include (1) periodic assessments of the
risk and magnitude of harm that could result from the unauthorized access and use of that
information and (2) policies and procedures that are based on those risk assessments.
Defendants did not require or ensure compliance with these fundamental information security
requirements.

45. _Long-standing weaknesses in the Department’s information security systems were

responsible for the February 11, 2013, data breach. Defendants failed to heed years of warnings

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about lax security from its own Inspector General and other agencies, such as the Government
Accountability Office, and failed to implement numerous and repeated recommendations for
correction of these deficiencies at Dorn VAMC.

46. Defendants knew, or should have known, that their officers, employees,
contractors, agents, or servants had ignored or failed to enforce VA and other federal
requirements for ensuring that Personal Information, including Privacy Act and HIPPA records,
were accessible only by properly authorized individuals, but did not require compliance
therewith.

47, VA officials, including Defendants, intentionally and willfully ignored specific
and repeatedly identified weaknesses and vulnerabilities regarding improper laptop use.
Competent security professionals or organizations charged with safeguarding sensitive
information, such as Privacy Act and HIPPA records, categorize storing files on a computer
system without any hardware or software safeguards as a fundamental security threat. Indeed,
Defendants have been repeatedly warned of fundamental safeguard deficiencies by security
professionals, but failed to correct them at Dorn VAMC.

48. Defendants’ inaction towards the persistent, unabating, and unaddressed security
threats presented by the unmonitored activities of their employees, agents, contractors, and
servants constitutes intentional and willful conduct so reckless as to exceed the standard of
conduct for gross negligence.

49. Further exacerbating the harm from their inactions, once Defendants lost control
of Plaintiffs” Personal Information at Dorn VAMC, Defendants failed to timely report the event
to Plaintiffs. Upon information and belief, Defendants waited well over a month before

notifying anyone outside of VA of the safeguards failure, without good cause for that delay.

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ADVERSE EFFECTS AND DAMAGES

50. Each of Defendants’ failures caused Plaintiffs adverse impacts and harm
including, but not limited to, embarrassment, inconvenience, unfaimmess, mental distress, and the
threat of current and future substantial harm from identity theft and other misuse of their
Personal Information. The threat of identity theft, medical insurance abuse, and similar adverse
effects caused by Defendants’ violations requires continuing affirmative actions by Plaintiffs to
recover peace of mind, emotional stability, and personal security including, but not limited to,
frequently obtaining and reviewing credit reports, bank statements, health insurance reports, and
other similar information, purchasing credit watch services, and shifting financial accounts.

51. Plaintiffs have suffered, and will continue to suffer for the foreseeable future,
tangible and intangible harm as a result of Defendants’ failures and violations. This harm

includes pecuniary and non-pecuniary damages.

CLASS ACTION ALLEGATIONS

52. This action is maintainable as a class action pursuant to Federal Rules of Civil
Procedure 23(a) and 23(b\(1)-(3).

53. The class consists of all persons who have been adversely effected by Defendants’
violations of law and Defendants’ failure to safeguard Plaintiffs’ Personal Information.

54. The class is so numerous that joinder of all members is impracticable. The class
size is at least 7,500, which is the number of individuals whose Personal Information Defendants
admit was collected and maintained on the missing laptop.

55.  Joinder of class members’ individual actions is impractical because of the
geographical diversity of class members, the limited ability of individual class members to

institute separate suits, and the general nature of the underlying action and relief sought.

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56. Class representatives’ counsel is appropriately qualified and experienced to
represent the class.

57. There are substantial questions of fact and law common to all class members.
The legal issues raised in this Complaint include violations of the APA, Privacy Act, HIPAA,
and state law causes of action. The factual issues of whether Defendants violated one or more
legal requirements are common to all class members. The facts, circumstances, and merits of the
case, therefore, apply equally to all class members.

58. The claims of the representative Plaintiffs are typical of the claims of the class
members. Representative Plaintiffs are military veterans who reasonably believe that their
Personal Information was improperly safeguarded and improperly disclosed by Defendants.

59. The representative Plaintiffs will fairly and adequately protect the interests of the
class. Furthermore, the representative Plaintiffs’ claims span the breadth of issues raised in this
action.

60. The prosecution of separate actions by individual class members would create a
risk of inconsistent results that could establish incompatible standards of conduct for Defendants.

61. Defendants’ liability for damages can be established by facts and circumstances
common to the class as a whole and do not require the examination of Plaintiffs’ individual
circumstances.

62. Questions of law and fact common to members of the class predominate over any
questions affecting only individual members.

63. A class action is superior in this case to other methods for a fair and efficient
adjudication of the controversy because: (A) the common interests of the class members

predominate over any individual interest in controlling prosecution or control of separate actions;

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(B) no similar litigation concerning the controversy is known to have been commenced by
members of the class; (C) concentrating litigation of this action in this Court is appropriate to
ensure appropriate, consistent, and efficient resolution of the constitutional issues raised in the
district where the offending conduct occurred, continues to occur, and could occur in the future;
and (D) the difficulties in managing an action involving this class are significantly reduced by
existing databases of potential class members prepared by the government and veteran service

organizations.

FIRST CLAIM FOR RELIEF

Violations of the Administrative Procedure Act

64. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this First Claim for Relief.

65. On February 11, 2013, a number of federal rules, regulations, procedures, and
standards governed Defendants’ actions in gathering, maintaining, disclosing, using, and
safeguarding Privacy Act records and systems of records and information protected under
HIPPA. Each of the applicable federal rules, regulations, procedures, and standards were final
actions of a promulgating federal agency.

66. Defendants were ultimately responsible for control, direction, and management of
VA’s processes, policies, and procedures for compliance with all applicable federal rules,
regulations, guidelines, and standards applicable to Personal Information under the control of
Dom VAMC.

67. Defendants intentionally, willfully, and unlawfully withheld and unreasonably
delayed, required action, or acted so recklessly as to exceed the standard of conduct for gross

negligence with respect to the applicable federal rules, regulations, guidelines, and standards for

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implementing the Privacy Act and HIPAA and associated safeguards at Dorn VAMC.
Defendants’ actions in this regard were also arbitrary, capricious, and an abuse of discretion and
were taken without observance of procedure required by law.

68. Plaintiffs were adversely affected and aggrieved as a result of Defendants’
improper actions and inactions and are entitled to equitable relief for Defendants’ violations of
Plaintiffs’ rights pursuant to the APA, 5 U.S.C. §§ 702, 704, and 706, and the inherent equitable
powers of the Court.

SECOND CLAIM FOR RELIEF

Violation of the Privacy Act — Unauthorized Disclosure

69. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Second Claim for Relief.

70. Defendants were responsible for ensuring that only individuals authorized
pursuant to approved rules, regulations, procedures, and standards compliant with the Privacy
Act could access Plaintiffs’ Privacy Act records at the Dorn VAMC.

71. Defendants failed to ensure that only VA employees, contractors, agents, and
servants who had submitted access authorization requests, completed background checks, and
met each of the other authorization process requirements could access VA Privacy Act systems
of records, including Plaintiffs’ Personal Information. Upon information and belief, Defendants
also failed to maintain any records of granted authorizations, requested or completed background
checks, or to ensure that the sensitivity level that employees, agents, contractors and/or servants
seeking to access Privacy Act records at or from the Dorn VAMC matched the sensitivity level

of the information to be accessed. Defendants’ failures allowed an unauthorized individual or

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individuals to access and use Plaintiffs’ Privacy Act records contained on the subject laptop
computer for unauthorized and improper purposes.

72. Defendants flagrantly disregarded Plaintiffs’ privacy rights and caused Plaintiffs
adverse effects by disclosing Plaintiffs’ Privacy Act records to unauthorized persons, in violation
of 5 U.S.C. § 552atb).

73. Defendants’ violations of the Privacy Act disclosure requirements were
intentional or willful, or were the result of conduct so reckless as to exceed the standard of
conduct for gross neghgence.

74, Defendants’ intentional and willful Privacy Act violations caused Plaintiffs to
suffer actual damages and Plaintiffs are entitled to monetary damages and the costs of this action
together with reasonable attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

THIRD CLAIM FOR RELIEF
Violation of the Privacy Act ~ Failure to Safeguard

75. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Third Claim for Relief.

76. Defendants flagrantly disregarded Plaintiffs’ privacy interests and caused
Plaintiffs harm by failing to establish and ensure lawful comphance with appropriate
administrative, technical, and physical safeguards requirements to insure the security and
confidentiality of records and to protect against anticipated threats or hazards to the records’
security or integrity, which could result in substantial harm, embarrassment, inconvenience, or

unfairness to any individual on whom information was maintained, in violation of 5 U.S.C.

§§ 552a(e)(9), (10).

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77. Defendants’ violation of the Privacy Act safeguards requirements and failure to
prevent or mitigate the effects of unauthorized and unmonitored transfer of sensitive data,
including Privacy Act records, was either intentional and willful or the result of professional
incompetence so reckless as to exceed the standard of conduct for gross negligence.

78. Defendants’ intentional and willful Privacy Act violations caused Plaintiffs to
suffer actual damages and Plaintiffs are entitled to monetary damages and the costs of this action
together with reasonable attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

FOURTH CLAIM FOR RELIEF

Violation of the Privacy Act ~- Improper Purpose

79. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Fourth Claim for Relief.

80. There is not, and never has been, any statute or executive order of the President
authorizing Defendants to establish a system of records at the Dorn VAMC for the purpose for
which the Personal Information on the missing laptop was reportedly used or for existing VA
Privacy Act records or system of records to be used for that purpose.

81. Defendants flagrantly disregarded Plaintiffs’ privacy interests and caused
Plaintiffs adverse effects by assembling and maintaining Plaintiffs’ Personal Information in a
system of records although the information was not relevant and necessary to accomplish a
purpose required by statute or by executive order of the President in violation of 5 U.S.C.
§ 552a(e)(1).

82. Defendants’ violation of the Privacy Act proper purpose requirement was
intentional and willful or the result of conduct so reckless as to exceed the standard of conduct

for gross negligence.

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83. Defendants’ Privacy Act violations caused Plaintiffs to suffer actual damages and
Plaintiffs are entitled to monetary damages and the costs of this action together with reasonable
attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

FIFTH CLAIM FOR RELIEF

Violation of the Privacy Act ~ Failure to Publish Notice

84. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Fifth Claim for Relief.

85. Defendants are responsible under the Privacy Act for ensuring that individuals
whose personal information is maintained by VA are informed of, infer alia, the fact that the
government is maintaining the information, the location of the information, the purpose for
maintaining the information, the authority to gather and maintain the information, and the
safeguards used to protect the information from improper disclosure or abuse.

86. Defendants failed to publish a Federal Register notice pursuant to 5 U.S.C.
§ §52a(e}(4) informing Plaintiffs that a new system of records was created, the new system of
records was being maintained on the missing laptop, the purpose for maintaining the
information, the safeguards being implemented, or the authority to gather and maintain the
information,

87. Defendants’ violation of the Privacy Act notice requirement was intentional and
willful or the result of conduct so reckless as to exceed the standard of conduct for gross
negligence.

88. Defendants’ Privacy Act violations caused Plaintiffs to suffer actual damages and
Plaintiffs are entitled to monetary damages and the costs of this action together with reasonable

attorney fees pursuant to the Privacy Act and 5 U.S.C. § 552a(g).

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SIXTH CLAIM FOR RELIEF

Negligence Per Se

89. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Sixth Claim for Relief.

90. Defendants owed a duty to Plaintiffs to properly secure the subject laptop
computer containing Plaintiffs’ Personal Information pursuant to laws including the APA, the
Privacy Act, HIPAA, and associated federal regulations.

91. The HIPAA Security Rule, 45 C.F.R. § 164.306, requires covered entities to
maintain reasonable and appropriate administrative, technical, and physical safeguards for
protecting electronic protected health information (“ePHI”). Specifically, covered entities must:

a. Ensure the confidentiality, integrity, and availability of all ePHI they
create, receive, maintain or transmit;

b. Identify and protect against reasonably anticipated threats to the
security or integrity of the information;

c. Protect against reasonably anticipated, impermissible uses or
disclosures; and

d. Ensure compliance by their workforce.

92. Defendants were also required by HIPAA to review and modify their security
measures to continue protecting ePHI, to analyze their own needs and implement solutions to
maintain safeguards against the dissemination of Plaintiffs’ ePHI.

93. Defendants failed to inform Plaintiffs of the theft of the subject laptop and the
breach of security of Plaintiffs’ medical records and Personal Information in a prompt and timely
manner thus further exposing Plaintiffs to pecuniary and non-pecuniary damages including, but
not limited to, identity theft, fraud loss of peace of mind, emotional instability, pecuniary loss

associated with obtaining credit watch services, emotional distress, and out-of-pocket costs.

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94, Defendants owed a duty to Plaintiffs to properly secure their medical records and
Personal Information which were contained on the subject stolen laptop.

95. As a direct and proximate result of Defendants’ gross negligence per se,
recklessness, willfulness, and wantonness, Plaintiffs have suffered actual damages and are in
imminent danger of suffering further material injury and loss by being placed in a material risk
of harm for identity theft.

96. As a result of the above described gross negligence per se, recklessness,
willfulness, and wantonness, Plaintiffs are entitled to a judgment against Defendants for actual
damages, statutory damages, attorneys’ fees, incidental damages, and costs in the amount to be
determined by the trier of fact.

SEVENTH CLAIM FOR RELIEF

SOUTH CAROLINA COMMON LAW NEGLIGENCE

97. Plaintiffs reassert their allegations set forth above and incorporate them by
reference into this Seventh Claim for Relief.

98. Defendants failed to properly secure the subject laptop computer containing
Plaintiffs’ Personal Information in violation of numerous statutes and regulations.

99, Defendants failed to inform Plaintiffs of the breach of security in their medical
records and personal information in a prompt manner further exposing Plaintiffs to pecuniary
and non-pecuniary damages including but not limited to identity theft, fraud loss of peace of
mind, emotional instability, pecuniary loss associated with obtaining credit watch services,
emotional distress, and out-of-pocket costs.

100. Defendants owed a duty to Plaintiffs to properly secure their Personal Information

contained on the subject stolen laptop.

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101. Defendants have willfully, wantonly, recklessly, and with gross negligence
violated and failed to comply with the duties imposed upon them through statutory and
regulatory mandates to secure Plaintiffs’ Personal Information, and report any such breach of
privacy in the most expedited manner possible.

102. As a direct and proximate result of Defendants’ gross negligence, recklessness,
willfulness, and/or wantonness, Plaintiffs have suffered actual damages and are in imminent
danger of suffering further material injury and loss by being placed in a material risk of harm for
identity theft.

103. As a result of the above described gross negligence, recklessness, willfulness,
and/or wantonness, Plaintiffs are entitled to a judgment against Defendants for actual damages,
incidental damages, attorneys fees, statutory damages, and costs in the amount to be determined
by the trier of fact.

EIGHTH CLAIM FOR RELIEF

South Carolina Common Law
Negligent Hiring, Training, Supervision, and Retention

104. Plaintiffs reassert their allegations set forth above and incorporate them by

reference into this Eighth Claim for Relief.

105. Plaintiffs are informed and believe that Defendants were negligent, careless,
reckless, wanton, willful, and grossly negligent at the time and place hereinabove mentioned in
the following particulars:

a. In failing to have in place policies and procedures to properly hire,
train, retain, supervise and monitor its employees, agents, contractors
and/or servants, or if such procedures were in place, in failing to

enforce them;

b. In failing to have in place adequate policies and procedures to mandate

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compliance by its employees, agents, contractors and/or servants with
statutes, laws, regulations and standards of care related to the security
of Plaintiffs’ and veterans’ Personal Information and Privacy Act
records, or if such policies and procedures were in place, in failing to
enforce them;

c. In generally failing to use the degree of care and caution required
under the same or similar circumstances; and

d. In such others as may be ascertained through discovery in this matter.
106. That because of the acts and omissions of Defendants as enumerated hereinabove
which resuited both proximately and directly in the damages also set out above, Plaintiffs seek a
reasonable amount of actual damages against Defendants as well as an exemplary amount of
punitive damages.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray as follows:

(a) That this Court issue a declaratory judgment that Defendants violated, and
continue to violate, Plaintiffs’ rights under the APA, Privacy Act, and
HIPPA;

(b) That this Court enjoin Defendants and the officers, agents, contractors,
employees, and servants of the Department, and those acting for and with
them, to account for all Privacy Act and HIPPA records in the possession
of the Department’s Columbia Regional Office and Dorn VAMC or under
their control, including all copies, whether authorized or unauthorized, on
Department and personal computers, and on any data storage medium and
to cause to be recovered or permanently destroyed any records or Personal

Information derived from those records that is found in any unauthorized

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or improper location or maintained contrary to applicable standards for
information security and safeguards, the Court to retain jurisdiction until
such accounting is favorably reviewed by a panel of acknowledged experts
in information security independent of Defendants and approved by the
Court:

(c) That this Court enjoin Defendants and the officers, agents, contractors,
employees, and servants of the Department, and those acting for and with
them from transferring agency Privacy Act or HIPPA records or any
information compilation derived or based on Privacy Act or HIPPA
records from Department computer systems to any portable device capable
of storing, containing, or transferring any record or system of records,
including, but not limited to, laptop computers, CDs, DVDs, portable hard
drives, memory sticks or similar devices, and “iPods” and similar devices,
from property under Defendants’ supervision and control until and unless
Defendants demonstrate to the Court that adequate information security
has been established pursuant to the applicable federal standards;

(d} That this Court grant to Plaintiffs judgment against Defendants for
damages in an amount calculated to compensate each individual who
suffered damages resulting from Defendants’ violations, actions, and
inactions:

(e) That this Court grant to Plaintiffs judgment against Defendants for
punitive damages to the degree allowed by law in an amount calculated to

deter Defendants from continuing to ignore their duties and

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responsibilities to safeguard the Personal Information entrusted to them;

(f) That this Court grant to Plaintiffs their costs and reasonable experts’ and

attorney’s fees;

(g) For an order certifying the class defined herein, appointing undersigned

counsel as class counsel, approving Plaintiffs as class representatives, and

requiring that notice be provided to the class; and

(bh) That this Court grant such additional relief as the Court deems proper and

just.

Columbia, South Carolina

June 26, 2013

BY:

Respectfully Submitted,
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